     Case 5:21-cr-00021-TKW-MJF    Document 153   Filed 07/26/22   Page 1 of 1




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                                 Case No. 5:21cr21/TKW

TYWAINA SMILEY
______________________________/

                   ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, TYWAINA SMILEY, to Counts Six and Seven of the Indictment is

hereby ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

       DONE and ORDERED this 26th day of July, 2022.

                                  T. Kent Wetherell, II
                               T. KENT WETHERELL, II
                               UNITED STATES DISTRICT JUDGE
